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UNITED STATES DISTRICT FOR THE
WESTERN DISTRICT OF NEW YORK
__________________________________

 UNITED STATES OF AMERICA,
                                                              21-CR-07-LJV-JJM
               v.
                                                              MEMORANDUM IN SUPPORT
                                                              OF SUPPRESSION MOTION
  JOHN STUART,

                      Defendant.
___________________________________

       Mr. Stuart moves under Rule 12(b)(3)(C) of the Federal Rules of Criminal Procedure for

an Order suppressing the physical and oral evidence obtained from him as a result of October

2020 search warrant. Evidence was seized as a result of the search and (as set forth with more

specificity in Mr. Stuart’s attached affidavit, Ex. A) that evidence must be suppressed. Any

statements made after the search must also be suppressed as fruits of the illegal search. See, e.g.,

Wong Sun v. United States, 371 U.S. 471, 487-492 (1963) (suppressing defendant’s statements

due to antecedent Fourth Amendment violation); United States v. Carter, 884 F.2d 368, 372-375

(8th Cir. 1989) (suppressing voluntary confession that was a result of an illegal search, despite

issuance of Miranda warnings).

       The defendant has standing to bring the instant motion. He was a lawful occupant of the

residence with free access to come and go as he pleased. The residence was his home.

Accordingly, he had a reasonable expectation of privacy that society is prepared to recognize as

reasonable. (See Ex. A.)

   A. The Warrant Lacks Reliability

       The Fourth Amendment prohibits “unreasonable searches and seizures” and requires

that “no warrants shall issue, but upon probable cause, supported by Oath or affirmation, and

particularly describing the place to be searched, and the place to be searched, and the persons
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or things to be seized.” U.S. Const., amend. IV; see also, Fed. R. Crim. P. 41. Indeed, “[t]he

guarantee of protection against unreasonable searches and seizures extends to the innocent and

guilty alike. It marks the right of privacy as of the unique values of our civilization and, with

few exceptions, stays the hands of the police unless they have a search warrant issued by a

magistrate on probable cause...” McDonald v. United States, 335 U.S. 451, 454 (1948). For

this reason, the judicial approval that a valid warrant confers acts as a checkpoint between the

government and its citizens. Steagald v. United States, 451 U.S. 204, 212 (1981). An invalid

warrant, however, confers nothing of the kind.

      It is the government’s burden to establish probable cause, United States v. Delossantos,

536 F.3d 155, 158 (2d Cir. 2008), which is determined upon consideration of the totality of the

circumstances. Illinois v. Gates, 462 U.S. 213, 230-232, 238-239 (1983). Because of what’s

at stake, this includes the issuing court carefully evaluating the reliability of law enforcement’s

source of information. As the Supreme Court has long recognized:

               The arrest warrant procedure serves to insure that the deliberate,
               impartial judgment of a judicial officer will be interposed between
               the citizen and the police, to assess the weight and credibility of
               the information which the complaining officer adduces as probable
               cause. To hold that an officer may act in his own, unchecked
               discretion upon information too vague and from too untested a
               source to permit a judicial officer to accept it as probable cause for
               an arrest warrant, would subvert this fundamental policy.

Wong Sun v. United States, 371 U.S. 471, 481-482 (1963) (internal citation omitted).

        While it is improper to “discount an informant’s information simply because he [or she]

has no proven record of truthfulness or accuracy,” United States v. Canfield, 212 F.3d 713, 719

(2d Cir. 2000) (emphasis added), the veracity and basis of knowledge of the informant are still

“highly relevant” in this determination. Gates, 462 U.S. at 230; see also, United States v.

Wagner, 989 F.2d 69, 73 (2d Cir. 1993) (recognizing that a CI’s veracity and quality of sources


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are to be considered in evaluating reliability). If there is ultimately corroboration shown for the

informant’s claims, his or her entire account may be credited. Gates, 462 U.S. at 234-235

(describing a balanced assessment of “all the various indicia of reliability (and unreliability)”);

Canfield, 212 F.3d at 719-720. Naturally, this Court must consider the “particular factual

contexts” of each case. Gates, 462 U.S. at 231. The reliability of the information from an

informant is examined on a totality of the circumstances standard. See, United States v. Smith, 9

F.3d 10007, 1012 (2d Cir. 1993), citing Gates, 462 U.S. at 230-231.

       At bar, the search warrant is significantly dependent on unnamed foreign law

enforcement agency references, specifically in paragraphs 24 through 27. According to the

warrant application, the foreign agency is a “national law enforcement agency of a country

with an established rule of law” (¶ 26). That could be one of 100 countries. It is beyond

dispute the information this foreign agency has purportedly provided to the FBI is critical to

the warrant application (i.e., ¶¶ 24-25). Yet, zero facts are provided; only bare legal

conclusions.

       The application provides only:

In August 2019, a foreign law enforcement agency (referenced herein as
"FLA") known to the FBI and with a history of providing reliable, accurate information in the
past, notified the FBI that FLA determined that on May 28, 2019, IP address 74.77.4.235
"was used to access online child sexual abuse and exploitation material" via a website that
the FLA named and described as the TARGET WEBSITE.

FLA is a national law enforcement agency of a country with an established rule
of law. There is a long history of U.S. law enforcement sharing criminal investigative
information with FLA and FLA sharing criminal investigative information with U.S. law
enforcement, across disciplines and including the investigation of crimes against children.
FLA advised U.S. law enforcement that it obtained that information through independent
investigation that was lawfully authorized in FLA’s country pursuant to its national laws.
FLA further advised U.S. law enforcement that FLA had not interfered with, accessed,
searched or seized any data from any computer in the United States in order to obtain that IP
address information. U.S. law enforcement personnel did not participate in the investigative
work through which FLA identified the IP address information provided by FLA.

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I am aware through my training and experience and consultation with other
U.S. law enforcement agents that tips provided by FLA regarding IP addresses that FLA
advised were associated with access to Tor network child exploitation-related web and chat
sites have: (I) led to the identification and arrest of a U.S.-based child pornography producer
and hands-on offender, and the identification and rescue of multiple U.S. children subject to
that offender's ongoing abuse; (2) led to the seizure of evidence of child pornography
trafficking and possession; and (3) been determined through further investigation to be related
to targets that U.S. law enforcement investigation had independently determined were
associated with child pornography trafficking and possession.

(Id.)

            • What is the other county? We don’t know.

            • How was this information gathered? We don’t know; only that some other

                county conducted a vague “independent investigation.”

            • What was the actual information that purportedly “led to” other arrests? We

                don’t know.

            • How many times has this other country provided bad information? We don’t

                know.

         There is nothing here but bare legal conclusions: plainly not enough for a magistrate

judge to make an independent determination – as is required – of the informant’s reliability

and credibility.

         As the Supreme Court has held, “an officer’s statement that affiants have received

reliable information from a credible person and believe that heroin is stored in a home, is []

inadequate.” Gates, 462 U.S. at 239 (internal quotation marks and citations omitted). By

failing to even identify the foreign agency, the affiant has essentially told the Magistrate

Judge to “trust us.”

         Further, as Gates makes clear, this principle – that a bare assertion of an informant’s

claimed credibility and reliability is insufficient – has been established for nearly 40 years.
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Good faith, then, cannot serve to uphold this deficient warrant. See, e.g., United States v.

Leon, 468 U.S. 897, 922 (1984). It was at least grossly negligent of the agents to keep this

information hidden and ask the magistrate judge to simply affirm the claimed reliability of

the informant without even bothering to disclose where the information came from. See

Herring v. United States, 555 U.S. 135, 144 (2009) (“[T]he exclusionary rule serves to deter

deliberate, reckless, or grossly negligent conduct.”).

        Alternatively, in order to properly litigate the pertinent Fourth Amendment issues

before the Court, including addressing matters of reliability and veracity, important factors

under Gates in considering the totality of the circumstances (see again, Gates, 462 U.S. at 233,

238), the defendant needs to know the identity of the mystery agency. Consistent with the

defendant’s rights to Due Process and to present a defense, documentation corroborating the

identification of the foreign agency which provided this critical information is indeed

“material to preparing” Mr. Stuart’s defense. U.S. Const., amends. V and VI; see again, Fed.

R. Crim. P. 12(b)(3)(E) and 16(a)(1)(E)(i). Moreover, if the Court deems it appropriate, this

information may be provided to defense counsel under seal.

       B.      The search warrant is stale and the fruits derived therefrom must be
               suppressed.

       On October 8, 2020, Judge Michael J. Roemer issued a search warrant for John Stuart

and the premises at 1010 Cleveland Drive, Cheektowaga New York in Erie. This search warrant

was based on information from an undisclosed foreign country that an IP address, later learned to

be associated with the Cleveland Drive address, accessed a child pornography website on May

28, 2019. The search was actually conducted on October 19, 2020, a full 510 days after the IP

address was alleged to have once visited a child pornography site.

       This 510-day delay renders the information in the warrant stale.

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       Probable cause to search a place exists if the issuing judge finds a “fair probability that

contraband or evidence of a crime will be found in a particular place.” United States v. Ponce,

947 F.2d 646, 650 (2d Cir.1991) (quoting Illinois v. Gates, 462 U.S. 213, 238 (1983)).

A search warrant is invalid if it is based on information that appears to be stale. The Second

Circuit has explained that:

               [T]he principal factors in assessing whether or not the supporting
               facts have become stale are the age of those facts and the nature of
               the conduct alleged to have violated the law. Where the supporting
               affidavits present a picture of continuing conduct or an ongoing
               activity, as contrasted with isolated instances of illegal acts, the
               passage of time between the last described act and the presentation
               of the application becomes less significant.

Rivera v. United States, 928 F.2d 592, 602 (2d Cir. 1991) (quoting United States v.

Martino, 664 F.2d 860, 867 (2d Cir. 1981)).

       The facts must be sufficiently close in time to the issuance of the warrant and the search

so that probable cause can be said to exist at the time of the search – not as of sometime in the

past. See United States v. Wagner, 989 F.2d 69, 75 (2d Cir. 1993) (holding that six week delay

between drug purchase and search warrant affidavit was stale). The Wagner court went on to

explain that “facts of past criminal activity that by themselves are too stale can be sufficient if

the affidavit also establishes a pattern of continuing criminal activity so there is reason to believe

that the cited activity was probably not a one-time occurrence.” Id., at 75.

       The information presented to Judge Roemer was clearly stale and not of a sufficiently

recent vintage to allow for a finding of probable cause. There is zero evidence that the IP

address engaged in continued downloading or exchange of child pornography. There was no

evidence of chatting with others on this topic or entering other child pornography sites or other

indicia of continued criminal activity. See United States v. Greathouse, 297 F.Supp.2d 1264 (D.

Ore. 2003) (finding that a tip that the suspect’s computer one year earlier contained child
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pornography was stale, and thus did not provide probable cause for search warrant for seizure of

computer, despite investigating officer’s affidavit stating child pornography collectors routinely

maintained their materials for long periods of time, where the officer did not specify the basis for

his statement, and there was no evidence that defendant was a pedophile or that he engaged in

any ongoing criminal activity.).

         In United States v. Coon, No. 10-CR-110A, 2011 WL 1871165, at *3 (W.D.N.Y. May

16, 2011), one year had passed between the discovery of child pornography and the issuance of

search warrant. Judge Arcara found that the information to be stale. The Court also easily

disposed of the government’s contention that all those accused of a child pornography crime can

be considered “hoarders,” thus eliminating stateless. The Court wrote that there was “no

evidence suggesting that this defendant collected or hoarded child pornography. He did not

subscribe to any illicit internet publications or e-groups. He did not have a pre-paid membership.

There was no evidence indicating that he had ‘collected’ or downloaded many illicit images.” Id.

         The same is true in this case. There was no evidence indicating that John Stuart had

‘collected’ or downloaded many illicit images. The only evidence, in fact, is that an IP address

associated with John Stuart once accessed a child pornography website. Had any of hoarding

evidence existed, it would have been easy enough for the police to acquire it and present it to the

Judge. They had 16 months to track down other information that would demonstrate probable

cause.

         The best the agents can muster is a pen register that indicates the IP address was

accessing the Tor network – not, critically, child pornography websites. Tor, a registered

501(c)(3) non-profit, is simply an internet browser that focuses on the privacy of its users. It is

used by all sorts of people – journalists, lawyers, and parents who do not want their children

tracked online. It is not illegal. It can easily and simply be downloaded by typing ‘Tor’ into any
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search box and is available on the Google Play store along with thousands of other legitimate

apps. 1 There is absolutely nothing inherently nefarious about it. That the IP address uses Tor

suggests only that the user is concerned about his privacy, not that the user is accessing child

pornography websites. Again, the only evidence of that existed in a single point in time on May

28, 2019 – 510 days before executed the search warrant.

       Judge Arcara found the passage of one year resulted in unconstitutional stateless. Nearly

a year and a half passed in this case. This information rotted on the vine.

       In United States v. Ohlson, No. 11-CR-225-A, 2012 WL 913037, at *4 (W.D.N.Y. Mar.

16, 2012), Judge Arcara again found information in the warrant to be stale when 13 months

passed between the conduct and the search-warrant issuance. Much like this case, Judge Arcara

noted that “the warrant affidavit in this case showed that a person accessed an indeterminate

number of images of child pornography during one, relatively short, five-day period of March

15, 2010 through March 19, 2010, without a showing that a person intentionally retained any

images of child pornography.” Id.

       In United States v. Raymonda, 780 F.3d 105 (2d Cir. 2015), Judge Skretny and the

Second Circuit Court of Appeals found information contained in a warrant application to be stale

where nine months passed between the discovery of an image of child pornography and the

issuance of the warrant. In Raymonda, the agents could at least point to a single image. But even

that was determined to be insufficient. Here the only allegation is that the IP address visited a

website one time, and there is no evidence that any images were retained. In fact, for this reason,

it arguable whether probable cause existed even in 2019, much less 510 days later.




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       See https://play.google.com/store/apps/details?id=org.torproject.torbrowser&hl=en_US&gl=US
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       Because the alleged conduct was a single instant of access almost 17 months before the

warrant was issued, the information contained in the warrant was necessarily stale, and the

warrant therefore lacked probable cause.

       The doctrine of good faith, which will be inevitably raised by the government in effort to

save this otherwise deficient warrant, does not help. The burden is on the government to

demonstrate the objective reasonableness of the officers good faith reliance when the warrant is

invalid. United States v. Clark, 638 F.3d 89, 100 (2d Cir. 2011) (citing United States v. Santa,

180 F.3d 20, 25 (2d Cir. 1999) and United States v. George, 975 F.2d 72, 77 (2d Cir. 1992)).

        For an officer to be able to claim the benefits of the good faith exception, his reliance on

a warrant must be objectively reasonable. United States v. Leon, 468 U.S. 897, 922 (1984).

“Thus, the good faith exception cannot shield [ ] an officer who relies on a duly issued warrant in

at least four circumstances: (1) where the issuing magistrate has been knowingly misled; (2)

where the issuing magistrate wholly abandoned his or her judicial role; (3) where the application

is so lacking in indicia of probable cause as to render reliance upon it unreasonable; and (4)

where the warrant is so facially deficient that reliance upon it is unreasonable. Raymonda, 780

F.3d at 118 (quoting Clark, 638 F.3d at 100).

       “Reviewing courts will not defer to a warrant based on an affidavit that does not provide

the magistrate with a substantial basis for determining the existence of probable cause” id. at 914

citing Illinois v. Gates, 462 U.S. 213, 239 (1983), and “officers cannot reasonably rely on a

warrant issued on the basis of an affidavit ‘so lacking in indicia of probable cause as to render

official belief in its existence entirely unreasonable.’” See Clark, 638 F.3d at 100.

       Although a judge’s legal error in his or her determination of probable cause will not

automatically lead to the conclusion that the agents acted unreasonably, United States v. Falso,



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544 F.3d 110, 129 (2d Cir. 2008), reliance is unreasonable when such error includes information

that is more than 16 months old at the time of the search (double the amount of time found stale

in a recent precedential decision specifically omitted from the warrant application), and where

there is a total lack of information in the warrant application demonstrating that that Mr. Stuart

was involved in any child pornography conduct in the ensuing 16 months and 21 days.

       “Good faith is not a magic lamp for police officers to rub whenever they find themselves

in trouble.” United States v. Reilly, 76 F.3d 1271, 1280 (2d Cir.), on reh’g, 91 F.3d 331 (2d Cir.

1996). With Coon, Ohlson, and Raymonda, the police have exhausted their three wishes with the

good-faith genie. Especially after Raymonda, a precedential case from the Second Circuit, the

agents should have been aware that if 9-month old information is stale in the child-pornography

context, then certainly 16-month old information is too. This is especially true where the alleged

offending conduct is so similar to the conduct at issue in Raymonda, in that it is discrete, remote,

and there is no evidence that the alleged offender exhibited any of the characteristics of hoarding.

       What is more, the Second Circuit applied the “good faith” doctrine in Raymonda because

the “relevant legal deficiency ‘was not previously established in precedent,’ and so “the agent’s

failure to recognize that deficiency cannot vitiate good faith.” 780 F.3d at 119 (quoting Clark,

638 F.3d at 105). That’s no longer true after the Raymonda opinion was issued. Because Second

Circuit decisions do establish precedent, police officers and agents can no longer claim that this

legal deficiency has not been established. See United States v. Buck, 813 F.2d 588, 593, n. 2 (2d

Cir. 1987); see also Clark, 638 F.3d at 105 (“Of course, once the requirement is established,

police may not thereafter claim reasonable reliance on warrants secured in the absence of

compliance.”).

       Finally, “[r]eviewing courts will not defer to a warrant based on an affidavit that does not

provide the magistrate with a substantial basis for determining the existence of probable cause”
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id. at 914 (citing. Gates, 462 U.S. at 239), and “officers cannot reasonably rely on a warrant

issued on the basis of an affidavit ‘so lacking in indicia of probable cause as to render official

belief in its existence entirely unreasonable.’” See Clark, 638 F.3d at 100. As Raymonda made

evident, such barebones information from so long ago does not create probable cause. This

warrant is so lacking in probable cause that reliance on it was unreasonable.



Dated:   Buffalo, New York
         October 4, 2021
                                               Respectfully submitted,

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